      Case 1:21-cr-00585-CRC Document 63-12 Filed 01/19/24 Page 1 of 3




                                 Loraine Rahm



October 11, 2022

H. Heather Shaner, ESQ.
Email: hhsesq@aol.com

Dear Mrs. Shaner

I am James Douglas Rahm III’s, Grandmother. (His Grandfather and his Father
have the same name.)

Needless to say I am extremely upset over my Grandson’s involvement on Jan 6th.

I’d like you to know a little about my Grandson and hope you have a minute to
read this.

He has always been a very sweet, gentle, caring, kind, giving and sensitive soul.

He was raised in Atlantic City in a mixed neighborhood. He has never had a
prejudice bone in his body.

He attended Catholic grammar school and then Holly Spirit High School thru 12th
grade. He was an excellent student, and he was rewarded with a scholarship to
LaSalle University where he completed 5 years of study.

He was looked up to and always set a good example for his collage peers.
He worked in the college bookstore.

He attends church regularly. Earlier on he was an altar-boy and sang in the choir.
He has excellent values.
       Case 1:21-cr-00585-CRC Document 63-12 Filed 01/19/24 Page 2 of 3




He volunteered and was made head coach for an inter city little league baseball
team in Atlantic City.
He has spent countless hours volunteering his time at local food banks.
At Holiday time he volunteers his time to a local organization similar to “Toys for
Tots”.

Many years of his life have been spend helping his seriously disabled cousin Gary
Davison.
He has always helped others where and when needed.

He has a totally clean record and has NEVER been in trouble in school or with the
LAW, at any time in his life, until now.

I fear he will need to start his adult life as a Felon.

He made a mistake following the crowd into the Capital. No one knows this
better than he does. He regrets it every minute of the day. He obviously never
stopped to consider just how wrong it was.

He told me he has been accused of being part of a crown that pushed against a
door with police officers guarding it.
He denies this and I believe him. He always tells the truth! He is totally
nonviolent! If you were to review the video, I feel certain it will show that he was
NOT involved in pushing against the door. At that time, he was attempting to film
the massive crowd that had formed just outside the door.

As you know the postings on Facebook were put there by his father. The names
were confused. My Grandson rarely used Facebook. If he were to do so, it would
be for business reasons only.

As you know my Grandson had a camcorder (Go Pro). He records most aspects of
his life like many others of his generation do. He went to D.C. to spend some rare
time with his Father who had a hotel room to share.

He is NOT political. He is a registered Independent.
      Case 1:21-cr-00585-CRC Document 63-12 Filed 01/19/24 Page 3 of 3




The pending charges have already affected his future. In these important years of
his life, given the charges, he has not been employable, and opportunities have
passed him by.
He does not deserve a label of Felon. He is entirely remorseful, and except for
this, has never been in the slightest bit of trouble at any time in his life.

Thank you for reading this. I hope and pray that the Court will understand.

Please call me with any questions.

Respectfully
Loraine Rahm
